Indictment for stabbing under the statute, being a felony. — A person summoned as a witness for the defendant was produced as a juror. The attorney-general objected, which caused considerable argument.
CAMPBELL, J., thought it no exception.
WHITE, J., was inclined to think it was a principal cause of challenge.
OVERTON, J., had no decided opinion, but was willing for the present that it might be considered a principal cause of challenge, upon which he was excluded.
The defendant was sitting in the bar with the counsel. The attorney-general wished the opinion of the Court whether he should be permitted to stay there.
CAMPBELL, J., was of opinion that the defendant had a right to sit there.
The order of a court of justice is a part of the law of the land. The different departments of the court are the bench, the bar, the clerk's box, within and behind the bar, and the area of the court.
The bench, bar, and clerk's box are intended for the officers of the court They are peculiarly under the government of the court. Strictly speaking, no person has a right to go into the bar but attorneys.
The people have a right to be anywhere in the court house, except on the bench, in the bar, or clerk's box, so long as they demean themselves in a peaceable manner, except sauntering or standing between the bench and bar.
The ordinary clients of lawyers sit by the side of their counsel, by the general acquiescence of the bar.
It is however to be understood that, in common cases, a court would not at all times indulge a querulous disposition in any gentleman of the bar, if a *Page 93 
common client appeared not to be in the way, or in any manner disturbing the business of the court. In criminal cases, the prisoner is either on bail, or in custody on his trial.
If the former, his proper place is just within the bar near his counsel.
If in custody, the officers of court place him behind the bar within sight of the court, where he is attended to by the court and its officers. The defendant then retired within the bar, and sat next to his counsel.